






						








					





NUMBER 13-09-00265-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

										

TROY MEADORS,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

____________________________________________________________


On Appeal from the 319th District Court


of Nueces County, Texas.


____________________________________________________________


MEMORANDUM OPINION



Before Justices Rodriguez, Garza, and Vela 


Memorandum Opinion Per Curiam



	Appellant, Troy Meadors, by and through his attorney, has filed a motion to withdraw
his appeal because he no longer desires to prosecute it.  See Tex. R. App. P. 42.2(a).  
Without passing on the merits of the case, we grant the motion to withdraw the appeal and
dismiss the appeal pursuant to Texas Rule of Appellate Procedure 42.2(a). Having
dismissed the appeal at appellant's request, no motion for rehearing will be entertained,
and our mandate will issue forthwith.

								PER CURIAM

Do not publish.  See Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered and 

filed this 1st day of October, 2009.


